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                                                                                CLERKS OFFICE U.S. DIST. COURT
                                                                                   AT CHARLOTTESVILLE, VA
                               UNITED STATES DISTRICT COURT                               FILED
                                                                                      11/14/2019
                               WESTERN DISTRICT OF VIRGINIA                        JULIA C. DUDLEY, CLERK
                                     CHARLOTTESVILLE DIVISION                      BY: /s/ J. JONES
                                                                                       DEPUTY CLERK
    ELIZABETH SINES, et al.,
                                                       CASE NO. 3:17-cv-00072
                                     Plaintiffs,

                          v.                           ORDER

    JASON KESSLER, et al.,
                                                       JUDGE NORMAN K. MOON
                                      Defendants.



         This matter is before the Court on its own motion, and on Judge Hoppe’s October 30, 2019

  Order and Certification, which had ordered Defendant Elliot Kline to appear before this Court on

  November 25, 2019 at 1:00 P.M. EST to show cause why he should not be adjudged in contempt

  by reason of the facts so certified. Dkt. 584. On this day, this Court issued an accompanying Order

  directed to Kline.

         Plaintiffs are hereby advised that they may, but need not, file a response to Judge Hoppe’s

  October 30, 2019 Order and Certification, no later than Thursday, November 21, 2019 at 5:00

  P.M. EST.

         It is so ORDERED.

         The Clerk of the Court is directed to send a certified copy of this Order to the parties.

         Entered this 14th      day of November, 2019.
